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16
     Counsel for Defendant Google LLC
17
                            UNITED STATES DISTRICT COURT
18                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

19
      CHASOM BROWN, et al., on behalf of               Case No. 4:20-cv-03664-YGR-SVK
20    themselves and all others similarly situated,
                                                       DECLARATION OF VIOLA TREBICKA
21           Plaintiffs,                               REGARDING    GOOGLE          LLC’S
                                                       COMPLIANCE WITH 28 U.S.C. § 1715(b)
22           v.
                                                       The Honorable Yvonne Gonzalez Rogers
23    GOOGLE LLC,                                      Courtroom 1 – 4th Floor
                                                       Date: August 7, 2024
24           Defendant.                                Time: 2:00 p.m

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                                                                Case No. 4:20-cv-03664-YGR-SVK
                     DECLARATION OF VIOLA TREBICKA REGARDING GOOGLE LLC’S COMPLIANCE WITH
                                                                               28 U.S.C. § 1715(b)
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 1                              DECLARATION OF VIOLA TREBICKA

 2          I, Viola Trebicka, declare as follows:

 3          I am a partner at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, counsel for

 4 Defendant Google LLC. I have personal knowledge of the facts set forth herein and, if called as a

 5 witness, could and would testify competently thereto.

 6          I submit this declaration regarding Google’s compliance with the notice requirements of

 7 the Class Action Fairness Act of 2005, 28 U.S.C. § 1715 (“CAFA”) in the above captioned matter.

 8          On April 1, 2024, Plaintiffs filed a Motion for Final Approval of Class Action Settlement

 9 (the “Final Approval Motion”) (Dkt. 1096).

10          On April 10, 2024, acting under my direction and supervision, Quinn Emanuel served

11 notices pursuant to CAFA, 28 U.S.C. § 1715(a) & (b), consisting of a cover letter and

12 accompanying documents, regarding the settlement (the “CAFA Notice”).

13          A true and correct copy of the form cover letter sent as part of the CAFA Notice is attached

14 hereto as Exhibit 1.

15          The CAFA Notice also included a flash drive containing electronic copies of all documents

16 and information as required by CAFA, including: (i) Plaintiffs’ Complaint filed on June 2, 2020

17 (ECF 1); (ii) First Amended Complaint filed September 21, 2020 (ECF 68); (iii) Second Amended

18 Complaint filed on April 14, 2021 (ECF 136-1); (iv) Third Amended Complaint deemed to have

19 been filed as of March 18, 2022 (ECF 395-2); (v) Fourth Amended Complaint filed on March 18,

20 2023 (ECF 886); (vi) the publicly available version of Plaintiffs’ Motion to Approve Settlement

21 (ECF 1098-2) and publicly available accompanying documents (ECF 1097-2, 5-6, 14-15, 17-18,

22 20, 22-28; ECF 1098-4, 5, 6, 7, 8); and (vii) a redacted version of the March 11, 2024 Settlement

23 Agreement (ECF 1098-3).

24          The CAFA Notice was sent by USPS priority mail to the U.S. Attorney General and the 56

25 Attorneys General for all U.S. states and territories. Attached hereto as Exhibit 2 is the list of

26 names and addresses of the 57 government officials upon whom the CAFA Notice was mailed.

27          USPS tracking numbers for the mailings showed delivery for all but three jurisdictions:

28 Illinois, Ohio and Utah. For these jurisdictions, the USPS tracking numbers showed “out for
                                                -1-             Case No. 4:20-cv-03664-YGR-SVK
                     DECLARATION OF VIOLA TREBICKA REGARDING GOOGLE LLC’S COMPLIANCE WITH
                                                                               28 U.S.C. § 1715(b)
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 1 delivery” but not a final destination. At my direction, a Quinn Emanuel attorney called the

 2 attorney general offices for those jurisdictions, and in each case the relevant attorneys general

 3 office confirmed receipt.

 4          The Office of the Attorney General of Washington State responded with an email

 5 acknowledging receipt but making no substantive comment. No other official has responded to

 6 Google’s counsel CAFA notice.

 7                 I declare under the penalty of perjury under the laws of the United States of

 8 America that the foregoing is true and correct.

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10          Executed this 5th day of August, 2024, at Los Angeles, California.
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                                                By       /s/ Viola Trebicka
12                                                       Viola Trebicka

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                                                -2-             Case No. 4:20-cv-03664-YGR-SVK
                     DECLARATION OF VIOLA TREBICKA REGARDING GOOGLE LLC’S COMPLIANCE WITH
                                                                               28 U.S.C. § 1715(b)
